                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN
                                    MILWAUKEE DIVISION


WILLIAM FEEHAN and DERRICK VAN ORDEN,

                 Plaintiffs,
         v.

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS, MARK
                                                                            Case No.: 20CV1771
 L. THOMSEN, MARGE BOSTELMANN,
 JULIE M. GLANCEY, DEAN KNUDSON,
 ROBERT F. SPINDELL, JR., in their official
 capacities, GOVERNOR TONY EVERS,
 in his official capacity,

                  Defendants.

                                  NOTICE OF APPEARANCE



         PLEASE TAKE NOTICE that Jeffrey A. Mandell and Rachel E. Snyder of the law firm

of Stafford Rosenbaum LLP have been retained by defendant Governor Tony Evers in this

action. Please serve copies of all papers in this action on the undersigned at the address set forth

below.
         Respectfully submitted this 3rd day of December 2020.

                                              /s/ Rachel E. Snyder
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              Case 2:20-cv-01771-PP Filed 12/03/20 Page 1 of 1 Document 12
